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                     IN THE UNITED STATES DISTRICT COURT FOR THE                               ,U,S. DISTRICT COURT '
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                                                                                            .i hXANDRIA. VIRGINIA
                               EASTERN DISTRICT OF VIRGINIA

                                           Alexandria Division


     UNITED STATES OF AMERICA

            V.                                          No. l:25-cr-00123


     CREDIT SUISSE SERVICES AG,

            Defendant.



                                          PLEA AGREEMENT


           Pursuant to Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure, the United

    States of America, by and through the Department of Justice, Tax Division, and the United

    States Attorney’s Office for the Eastern District of Virginia (collectively, the “Offices”), and

    the defendant. CRJEDIT SUISSE SERVICES AG (also referred to as “the defendant”), by and

    through its undersigned attorneys, hereby submit and enter into this plea agreement (the

     Agreemenf*).

           Prior to June 2023, CREDIT SUISSE SERVICES AG was a sister entity of Credit

    Suisse AG and subsidiary of Credit Suisse Group AG. both Swiss corporations. On June 12,

    2023, UBS Group AG. at the request of and with the approval of Swiss and other financial

    regulators, completed the acquisition of Credit Suisse Group AG (through a merger of Credit

    Suisse Group AG with and into UBS Group AG, with UBS Group AG as surviving entity) to

    avert a potential systemic banking crisis feared upon continued deterioration of Credit Suisse

    Group AG.' On May 31. 2024. Credit Suisse AG merged with and into UBS AG, whereby


    By virtue of the merger and a subsequent share transfer of all the shares in CREDIT SUISSE
I



    SERVICES AG by UBS Group AG to UBS Business Solutions AG (also known as “BUSO”),
    CREDIT SUISSE SERVICES AG became a subsidiary of BUSO. which itself is a subsidiary of
    UBS Group AG. UBS AG is a subsidiary of UBS Group AG. The term “Affiliates” as used in

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Credit Suisse AG ceased to exist and all its assets, liabilities and contracts transferred by

operation of law to UBS AG.

        UBS Group AG, UBS AG, and UBS Business Solutions AG, which are not defendants

in this matter, also agree, pursuant to the authority granted by their respective Boards of

Directors, to the terms and obligations set forth in a separate Certification, appended as

Attachment A, and fully incorporated herein. The terms of this Agreement are as follows:

        1.     Offense and Maximum Penalties


       The defendant agrees to waive indictment and plead guilty to a single-count Criminal

Information, charging the defendant with conspiracy to commit offenses against the United

States, to wit, violations of Title 26, United States Code, Section 7206(2), the aiding, assisting.

procuring, counseling, and advising of the preparation and presentation of false income tax

returns to the Internal Revenue Service of the Treasury Department (“IRS”), in violation of Title

18, United States Code, Section 371. The maximum penalties for this offense are: a maximum

possible fine of $500,000, twice the gross gain derived from the offense, or twice the gross loss,

whichever is greatest; full restitution; a term of probation of no more than five (5) years; and a

special assessment.

        2.     Corporate Authorization

       The defendant agrees that this Agreement is executed by authorized corporate

representatives of CREDIT SUISSE SERVICES AG. The defendant further agrees that the

Certificate of Corporate Resolutions attached as Attachment B was duly adopted by the Board of

Directors of CREDIT SUISSE SERVICES AG and represents that the signatures on this




this Agreement shall mean, collectively, Credit Suisse AG, UBS Group AG, UBS AG, and
UBS Business Solutions AG and any of their respective subsidiaries and branches.

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Agreement by CREDIT SUISSE SERVICES AG and its counsel are authorized by the Board of

Directors of CREDIT SUISSE SERVICES AG.


        The defendant agrees that it has the full legal right, power, and authority to enter into

and perform all of its obligations under this Agreement.

        The defendant further agrees that in the event it sells, merges, or transfers all or

substantially all of its business operations as they exist as of the date of this Agreement, whether

such sale(s) is/are structured as a stock or asset sale, merger, or transfer, the defendant shall

include in any contract for sale, merger or transfer, a provision fully binding the purchaser(s) or

any successor(s) in interest thereto to the obligations described in this Agreement.

        The defendant agrees to abide by all terms and obligations of this Agreement as

described herein, including the following:

               a.      to plead guilty as set forth in this Agreement;

               b.      to abide by all sentencing stipulations contained in this Agreement;

               c.      to appear, through its duly appointed representatives, as ordered for all
                       court appearances;

               d.      to commit no further federal crimes;

               e.      to fully satisfy the undertakings set forth in this Agreement;

               f.      to be truthful at all times; and

               g-      to pay the applicable criminal fine, restitution, forfeiture, and special
                       assessment by the dates specified in this Agreement.

        3.     Factual Basis for the Plea


       The defendant will plead guilty because the defendant is in fact guilty of the charged

offense. The defendant agrees and stipulates that it is responsible for the acts of its officers and

employees and the officers and employees of the former Credit Suisse AG described in the

Statement of Facts (Attachment C) filed with the Agreement, and that the Statement of Facts


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accurately reflects its criminal conduct. The defendant admits the facts set forth in the Statement

of Facts and agrees that those facts establish guilt of the offense charged beyond a reasonable

doubt. The Statement of Facts, which is hereby incoiporated into this Agreement, constitutes a

stipulation of facts for purposes of Section 1B1.2(c) of the Sentencing Guidelines.

        4.     Breach of the 2014 Credit Suisse Plea Agreement

        In May 2014, pursuant to a plea agreement, Credit Suisse AG pleaded guilty to a one-

count Criminal Information in the U.S. District Court for the Eastern District of Virginia, which


charged it with conspiracy to commit a violation of 26 U.S.C. § 7206(2), the aiding, assisting.

procuring, counseling, and advising the preparation and presentation of false income tax returns

to the IRS, in violation of 18 U.S.C. §371.   A copy of that Plea Agreement is attached to this

Agreement as Attachment D, and is hereinafter referred to as the “2014 Plea Agreement.

        Further, the defendant acknowledges that, despite the efforts made by the defendant and

Credit Suisse AG to respond to the conduct at issue in the 2014 Plea Agreement, Credit Suisse

AG’s weak compliance programs, Know Your Customer procedures, and account oversight,

governed in part by the defendant, failed to prevent Credit Suisse AG employees from opening

and servicing undeclared U.S. accounts.

        Credit Suisse AG breached the 2014 Plea Agreement in at least three ways: First, Credit

Suisse AG failed to close some recalcitrant accounts, as defined in Section 1471(d)(6) of the

Internal Revenue Code, that it knew to be U.S. accounts in a timely fashion, in violation of

Paragraph 7(B)(5) of the 2014 Plea Agreement.

       Second, Credit Suisse AG opened some accounts for U.S. persons after the 2014 Plea

Agreement under circumstances where the accounts were not properly documented as U.S.

Related accounts (as defined in Paragraph I.B.9 of the Program for Non-Prosecution

Agreements or Non-Target Letters for Swiss Banks (the “Swiss Bank Program”), without
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regard to the dollar limit or the applicable time period) and which were therefore subject to

disclosure. As a result, Credit Suisse AG failed to provide timely reporting on those accounts

as required by the 2014 Plea Agreement. This facilitated the concealment of assets and evasion

of tax by the U.S. persons. By continuing to open, maintain, and service certain undeclared U.S.

Related accounts, Credit Suisse AG violated U.S. criminal law, which is also a violation of

Paragraph 7(B) of the 2014 Plea Agreement.

       Third, Credit Suisse AG violated its duty under Paragraph 7(B)(1) of the 2014 Plea

Agreement to provide transaction reporting regarding certain closed accounts. Immediately

after it pleaded guilty, and for years thereafter, it failed to provide the requisite transaction

information about certain accounts that it knew were U.S. Related accounts that closed prior to


the 2014 Plea Agreement. It also failed to provide in a timely and complete manner the

requisite transaction information about certain accounts that it knew or should have known were

U.S. Related accounts that closed after the 2014 Plea Agreement.


        5.     Assistance and Advice of Counsel


       The defendant is satisfied that the defendant’s attorneys have rendered effective

assistance. The defendant understands that by entering into this Agreement, the defendant

surrenders certain rights as provided in this agreement. The defendant understands that the rights

of criminal defendants include the following;

               a.
                       the right to plead not guilty and to persist in that plea;
               b.      the right to a jury trial;

               c.      the right to be represented by counsel—and, if necessary, have the court
                       appoint counsel—at trial and at every other stage of the proceedings; and

               d.      the right at trial to confront and cross-examine adverse witnesses, to testify
                       and present evidence, and to compel the attendance of witnesses.




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         6.    Applicable United States Sentencing Guidelines Provisions

        The defendant agrees that pursuant to Title 18, United States Code, Section 3571(d), this

Court is authorized to impose a fine of $217,261,890 (as detailed below) in this case, and the

defendant knowingly, intelligently, and voluntarily waives any constitutional or statutory

objection to the imposition of such a fine. The parties’ agreement herein to any guideline

sentencing factors constitutes proof of those factors sufficient to satisfy any applicable burden of

proof The defendant also understands that if the Court accepts this Agreement, the Court is

bound by the sentencing provisions in both this paragraph and paragraph 7.

        The parties stipulate that the 2024 United States Sentencing Guidelines apply to this

matter and to the factual predicates set forth below. The parties stipulate that the following

Sentencing Guidelines apply to Count One of the Criminal Information:

        a.     The parties stipulate that pursuant to U.S.S.G. §§ 8C2.1(a) and 8C2.3(a), the

Guidelines provision applicable to the offense to be charged in the Information is U.S.S.G.

§ 2T1.9. Pursuant to U.S.S.G. § 2T1.9(a), the base offense level is the greater of the offense

level determined from U.S.S.G. § 2T1.4 or 10. Pursuant to U.S.S.G. §§ 2T1.4 and 2T4.1(M),

because the tax loss was greater than $65,000,000 and less than $150,000,000, the base offense

level is 30.


        b.     The parties stipulate that pursuant to U.S.S.G. § 2T1.1(b)(2), because the offense

involved sophisticated means, the base offense level is increased by two levels. In accordance

with the above, the applicable Guidelines Offense Level is 32.

         c.    Pursuant to the U.S.S.G. § 8C2.4(a), the base fine is the greatest of: the amount

from the table in subsection U.S.S.G. § 8C2.4(d) corresponding to the offense level determined

under § 8C2.3; the pecuniary gain to the organization from the offense; or the pecuniary loss

from the offense caused by the organization, to the extent the loss was caused intentionally.
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knowingly, or recklessly. Pinsuant to U.S.S.G. § 8C2.4(d), an offense level of 32 corresponds

to a fine amount of $30,000,000.

       d.      Pursuant to U.S.S.G. § 8C2.4(a)(2) because the pecuniary gain from the offense,

$ 108,630,945, is greater than the offense level fine of $30,000,000, and the pecuniary loss of

$71,266,527, the base fine is $108,630,945.

       e.      The parties stipulate that: (1) the defendant’s base culpability score is five

pursuant to U.S.S.G. § 8C2.5(a); (2) the culpability score is enhanced by five points pursuant to

U.S.S.G. § 8C2.5(b)(l)(A)(i) because the unit had 5,000 or more employees and an individual

within high-level personnel participated in, condoned, or was willfully ignorant of the offense;

and (3) the defendant’s culpability score is enhanced by two points because the organization

committed part of the instant offense less than five years after a criminal adjudication of Credit

Suisse AG based on similar misconduct. Pursuant to U.S.S.G. § 8C2.5(g)(3), because the


defendant has clearly demonstrated recognition and affirmative acceptance of responsibility, one

point is subtracted from the Culpability Score. In accordance with the above, the defendant’s

Culpability Score is 11. Pursuant to U.S.S.G. § 8C2.6, the resulting fine multiplier is 2.0 to 4.0.

       f.      Accordingly, the parties stipulate that pursuant to U.S.S.G. § 8C2.7, based on the

defendant’s fine multiplier of 2.0 to 4.0, using the pecuniary gain as the base fine, the Guideline

fine range is $217,261,890 to $434,523,780 (the “Stipulated Guidelines Fine Range”).

       g-      Notwithstanding the Stipulated Guidelines Fine Range, the court cannot impose a

fime that is higher than the maximum fine authorized by federal law. U.S.S.G. § 8C3.1. Here, the

statutory maximum fine is capped at twice the gross gain or loss. 18 U.S.C. § 3571 (d). Thus, the

maximum fine would be $217,261,890, or twice the gross gain.

       However, in consideration of all the factors set forth in U.S.S.G. § 8C2.8 and 18 U.S.C.

§ 3553(a) and 3572(a), and pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C), the
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parties hereby agree that the appropriate fine in this case is $217,261,890. No cooperation

reduction has been granted due to the breach of the 2014 Plea Agreement. The United States

and the defendant have not agreed on any further issues related to the applicability of Sentencing

Guidelines provisions other than those set forth in this Agreement.

        7.     Agreed Disposition

        Pursuant to Fed. R. Grim. P. 11(c)(1)(C), the United States and the defendant agree that

the appropriate disposition of the case is as set forth above, and agree to recommend jointly that

the Court impose a sentence requiring the defendant to pay a total amount of $371,908,909.

Specifically, the defendant agrees to pay the following: (1) a fine in the amount of

$217,261,890 to be paid to the Clerk of Court; (2) a mandatory Special Assessment of $400 to

be paid to the Clerk of the Court; (3) restitution (inclusive of interest) in the amount of

$46,015,674 to be paid to the IRS; and (4) forfeiture of $108,630,945 to the United States, as set

forth below.


        a.     Criminal Fine


        Assuming the defendant accepts responsibility as outlined in this Agreement, the parties

will agree to the imposition of a fine in the amount of $217,261,890 payable to the Clerk of

Court for the United States District Court for the Eastern District of Virginia.   Should the

defendant elect to make payments by wire transfer, such wire transfer shall list as the

beneficiary the U.S. District Courts - Eastern District of Virginia, or such other entity as

specified in wire transfer instructions from the Clerk. Whether payment is made by check or by

wire transfer, the payment shall note the case name and number on the payment. The parties

agree that the fine amount shall be paid within seven days of entry of the guilty plea.

       The defendant acknowledges that no tax deduction, foreign or domestic, may be sought

in connection with the payment of any part of this $217,261,890 fine. The defendant shall not

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seek or accept, directly or indirectly, reimbursement or indemnification from any source, other

than the Affiliates, with regard to the fine, penalty, or forfeiture amounts that the defendant pays

pursuant to this Agreement.

        b.      Mandatory Special Assessment

        Within seven days of the entry of the guilty plea, the defendant agrees to pay a

mandatory special assessment of $400, pursuant to 18 U.S.C. § 3013(a)(2)(B).

        c.      Restitution


        The defendant agrees that restitution is mandatory pursuant to 18 U.S.C. § 3663A(c)(l),

and the defendant agrees to the entry of a Restitution Order for the full amount of the victim’s

losses as determined by the Court. Pursuant to 18 U.S.C. § 3663A(c)(2), the defendant further

agrees that an offense listed in Section 3663A(c)(l) gave rise to this Agreement and, as such,

victims of the conduct described in the charging instrument, Statement of Facts, or any related or

similar conduct shall be entitled to restitution.


Victim Name/Address                                     Amount of Restitution


IRS-RACS
Attn.: Mail Stop 6261, Restitution                      $46,015,674
333 West Pershing Avenue
Kansas City, MO 64108

        The parties agree that restitution shall be paid directly to the IRS within seven days of

the entry of the guilty plea, pursuant to payment instructions provided to the defendant.

        The defendant understands that forfeiture and restitution are separate and distinct


financial obligations that must be imposed upon a criminal defendant. The defendant further

understands that restitution will be enforced pursuant to 18 U.S.C. § 3572, 18 U.S.C. § 3613,

and 18 U.S.C. § 3664(m).




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       d.      F^rfeitwr^

       The defendant agrees that it will forfeit $108,630,945 (the “Forfeiture Amounf’) to the

United States, representing a substitute res for the approximate gross fees that U.S. taxpayers

with undeclared accounts paid to the former Credit Suisse AG from 2008 through at least 2021.

The defendant agrees that the Forfeiture Amount is subject to civil forfeiture to the United

States pursuant to 18 U.S.C. § 981(a)(1)(C), as alleged in the civil forfeiture complaint (the

 Civil Forfeiture Complaint”), a copy of which is attached hereto as Attachment E, which will

be filed against the Forfeiture Amount. The Forfeiture Amount shall be sent by wire transfer to

a seized asset deposit account maintained by the United States Department of the Treasury

within seven days of the entry of the plea. If the defendant fails to timely make the payment

required under this paragraph, interest (at the rate specified in 28 U.S.C. § 1961) shall accrue on

the unpaid balance tlirough the date of payment. Upon payment of the Forfeiture Amount, the

defendant shall release any and all claims it may have to such funds and execute such

documents as necessary to accomplish the forfeiture of the funds. The defendant agrees this

Agreement, the Infonnation, and the Statement of Facts may be attached and incorporated into a

Civil Forfeiture Complaint. By this Agreement, the defendant expressly waives service of the

Civil Forfeiture Complaint and agrees that a Judgment of Forfeiture may be entered against the

Forfeiture Amount. The defendant also agrees that the facts contained in the Information and

Statement of Facts are sufficient to establish that the Forfeiture Amount is subject to civil


forfeiture to the United States.


       e.      Probation and Term of Agreement

        The parties stipulate that pursuant to U.S.S.G. §§ 8D1.1 and 8D1.2(a)(1), the defendant

will be subject to a three-year term of probation (the “Term” of this Agreement), which term

will start on the date that the Agreement is accepted by the Court. The parties agree, pursuant

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    to U.S.S.G. § 8D1.4, that the term of probation shall include as conditions the obligations set

    forth in Paragraph 8, as well as the payment of a fine, as set forth in Paragraph 7(a).

           8.      CREDIT SUISSE SERVICES AG’s Undertakings

            The defendant represents that it has truthfully disclosed all relevant factual information

    with respect to its activities, those of the Affiliates, and those of its present and former

    directors, officers, employees, agents, and consultants relating to the conduct described in this

    Agreement and the Statement of Facts, as well as any other conduct under investigation by the

    Offices at any time about which the defendant has present knowledge, to the extent permitted

    by law. The parties acknowledge that the investigation by the defendant and the Affiliates into

    Legacy Credit Suisse U.S. Accounts at the Swiss booking center has been comprehensive and

    thorough.^ The defendant and Affiliates will continue to ensure that undeclared Legacy Credit

    Suisse U.S. Accounts are appropriately documented in conformity with U.S. laws or exited

    from the bank with notice to the Offices, including as part of the process of integrating with

    UBS, and ongoing compliance processes. These measures may identify and result in the

    disclosure of additional Legacy Credit Suisse U.S. Accounts subject to this Agreement.

            a.      Ongoing Undertakings


            The defendant shall cooperate fully, subject to applicable laws and regulations, with the

    Department of Justice, the IRS, and any other federal law enforcement agency designated by the

    Offices, regarding all matters related to the Offices’ investigation into Legacy Credit Suisse

    U.S. Accounts (the “Offices’ Investigation”), until the date on which all civil or criminal


^   “Legacy Credit Suisse U.S. Accounts” is defined as accounts opened at the former Credit Suisse
    AG or Credit Suisse Switzerland AG that had a U.S. taxpayer as accountholder or beneficial
    owner prior to this Agreement. The term also includes identified related accounts involving the
    same U.S. taxpayer as accountholder or beneficial owner. This term is limited to accounts
    booked in Switzerland, with the exception of Paragraph 13.e, in which case the term includes
    accounts regardless of booking center.

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examinations, investigations, or proceedings, including all appeals, involving such matters are

concluded. Specifically, the defendant agrees that it will:

               (1)     truthfully, completely, and promptly disclose all information, and

promptly respond to the Offices’ inquiries, with respect to the accounts and activities of the

defendant and Credit Suisse AG, its officers and employees, and others concerning all such

matters related to the Offices’ Investigation. Subject to applicable laws and regulations, the

defendant shall disclose to the Offices that it has discovered new information relating to Legacy


Credit Suisse U.S. Accounts, including information that supplements or is inconsistent with

representations and materials previously provided to the Offices, no later than 30 days from

discovery. With respect to such accounts over $50,000 or part of a larger relationship, the

defendant shall provide information as described in Part II.D.2.b.vi of the Swiss Bank Program

required to be provided under this Agreement or other such infonnation at the Department’s

request that is not protected by a valid claim of privilege or work product, no later than 90 days

from discovery, or as soon as practicable, with notice to the Department within 90 days. With

respect to accounts in other booking centers, the defendant agrees to provide information

described in Part II.D.2.b.vi of the Swiss Bank Program required to be provided under this

Agreement upon request. All other terms of this Agreement shall apply with respect to any

newly disclosed information;

               (2)     retain all records relating to the Offices’ Investigation, for a period of ten

years from the date of the execution of this Agreement;

               (3)     upon request, assist the Department of Justice or any designated federal

law enforcement agency in any investigation, prosecution, or civil proceeding arising out of or

related to the Offices’ Investigation by providing logistical and technical support for any

meeting, interview, grand jury proceeding, or any trial or other court proceeding;
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               (4)        upon request, use its best efforts promptly to secure the attendance and

truthful statements or testimony or information of any current or former officer, director.

employee, agent, or consultant of the defendant and/or the Affiliates at any meeting or interview

or before any grand jury or at any trial or other court proceeding regarding matters arising out

of or related to the Offices’ Investigation;

               (5)        upon request, provide testimony of a competent witness as needed to

enable the Department of Justice and any designated federal law enforcement agency to use the

information and evidence obtained in connection with the Offices’ Investigation before a grand


jury or at any trial or other court proceeding regarding matters arising out of or related to the

Offices’ Investigation;

               (6)        provide the Department of Justice, upon request, consistent with

applicable law and regulations, all information, documents, records, or other tangible evidence

not protected by a valid claim of privilege or work product regarding matters arising out of or

related to the Offices’ Investigation about which the Department of Justice or any designated

federal law enforcement agency inquires; however, the defendant must provide to the Offices,

upon request, a log of any information or cooperation that is not provided based on an assertion

of law, regulation, or privilege, and the defendant bears the burden of establishing the validity of

any such assertion;

               (7)        upon request, provide fair and accurate certified translations, at the

defendant’s expense, of any foreign language documents produced by the defendant or the

Affiliates to the United States either directly or through any government entity;

               (8)        upon request, provide to any state law enforcement agency such

assistance as may reasonably be requested in order to establish the basis for admission into

evidence of documents already in the possession of such state law enforcement agency in
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connection with any state civil or criminal tax proceedings brought by such state law

enforcement agency against an individual arising out of or related to the Offices’ Investigation.

       b.     Undertakings During the Term of the Agreement


       During the Term of the Agreement, the defendant also agrees to, subject to applicable

laws and regulations:

              (1)        supplement as soon as practicable, transaction information previously

produced in response to requests based on Part II.D.2.b.vi of the Swiss Bank Program, to

include all identified Legacy Credit Suisse U.S. Accounts over $50,000 unless part of a larger

relationship, and, upon request, identified Legacy Credit Suisse U.S. Accounts in booking

centers other than Switzerland, closed in the period from January 1,2010 through the date of

the execution of the Agreement, and any closed accounts related to the Offices’ Investigation

about which the Department of Justice specifically inquires, in the format requested by the

Department of Justice;

               (2)       make reasonable efforts to implement the closure of recalcitrant Legacy

Credit Suisse U.S. Accounts and undertake related procedures, to the extent that it has not

already done so, as set forth in Part II.G of the Swiss Bank Program;

               (3)       provide all necessary information and assist the United States with the

drafting of treaty requests to seek account records and other information, and will collect and

maintain all records that are potentially responsive to such treaty requests to facilitate prompt

responses;


               (4)       submit quarterly reports to the Offices regarding the status of Legacy

Credit Suisse U.S. Accounts for which the bank does not have indicia of tax compliance and


remediation efforts in the Switzerland booking center, including the monitoring and closing of

identified Legacy Credit Suisse U.S. Accounts, and future plans to change, implement, and/or
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 enforce compliance efforts;

               (5)     commit no violations of the federal criminal laws of the United States;


 and


               (6)     maintain U.S. counsel as the point of contact with the Offices.

        Further, during the Term of the Agreement:

               (7)     should the defendant learn of any evidence or allegation of conduct

 (committed or alleged to have been committed by the defendant or by the Affiliates, and/or

their employees, agents, and/or directors) that may constitute a violation of federal criminal tax,

 Bank Secrecy Act, or criminal anti-money laundering laws, the defendant shall promptly report

 such evidence or allegation to the Offices in a manner and form consistent with local law.

Thirty (30) days prior to the end of the term of organizational probation, the defendant, by the

 Chief Executive Officer and the Chief Compliance Officer of defendant, or an executive officer

 substantively responsible for the defendant’s operations, and similar executive officers of UBS

 Group AG, UBS AG, and UBS Business Solutions AG, will certify to the Offices, in the form

 of executing the document attached as Attachment F to this Agreement, that the defendant has

 met its disclosure obligations pursuant to this Paragraph. Each certification will be deemed a

material statement and representation by the defendant to the executive branch of the United

 States for purposes of 18 U.S.C. §§ 1001 and 1519, and it will be deemed to have been made in

the judicial district in which this Agreement is filed.

        The defendant acknowledges that its global parent company, UBS Group AG, along

 with UBS AG and UBS Business Solutions AG, have agreed to ensure that the Affiliates

cooperate with the Offices in any investigation or prosecution as described in this Agreement;

 and that UBS Group AG, UBS AG, and UBS Business Solutions AG meet their obligations

 under the Agreement, by executing Attachment A and by making the certifications in

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Attachment F to this Agreement.

        Any information provided pursuant to this Agreement may be used by the Offices for

any purpose, except as otherwise limited in this Agreement or by applicable law. Nothing in

this Agreement shall require the defendant to waive any protections of the attorney-client

privilege, attorney work-product doctrine, or any other applicable privilege. Nothing in this

Agreement shall require the defendant to violate the law of any jurisdiction in which it operates.

        9.     Judicial Acceptance

        Because this Agreement is made under Rule 11(c)(1)(C) of the Federal Rules of Criminal

Procedure, the defendant understands that, if the Court accepts this Agreement, the Court will

be bound by its terms for sentencing purposes. If, however, the Court rejects this Agreement

and does not agree to impose the specific sentence as agreed to by the parties herein, neither the

United States nor the defendant shall be obligated to proceed under the terms of this

Agreement, each shall be restored to their full rights, claims and defenses without prejudice and

neither shall be bound by any statement contained in the Statement of Facts. For avoidance of

doubt, in that circumstance, none of the waiver provisions of this Agreement shall operate

against the defendant.

       The Offices and the defendant understand that the Court retains complete discretion to


accept or reject the recommended sentence provided for in this Agreement. If the Court does not

accept the recommended sentence, the parties agree that this Agreement shall be rendered void.

If the Court does not accept the recommended sentence, the parties agree that the defendant shall

be free to withdraw its guilty plea pursuant to Fed. R. Crim. P. 11(c)(5) and (d). If the defendant

withdraws its plea of guilty because the Court does not accept the recommended sentence, the

parties agree that this Agreement, the Statement of Facts, the guilty plea, and any statement made

in the course of plea discussions with an attorney for the United States shall not be admissible

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against the defendant in any criminal or civil proceeding, except as otherwise provided in Fed. R.

Evid.410.


        10.    Waiver of Presentence Investigation and Consolidation of Plea and
               Sentencing

       The parties agree, subject to the Court’s approval, to waive the requirement for a

presentence report, pursuant to Federal Rule of Criminal Procedure 32(c)(1)(A), based on the

Court’s finding that the record contains infonnation sufficient to enable the Court to

meaningfully exercise its sentencing power. The parties further agree to request that the Court

combine the entry of the plea and sentencing into one proceeding, tlowever, the parties agree

that in the event the Court orders that the entry of the guilty plea and the sentencing hearing

occur during separate proceedings and the preparation of a presentence report prior to

sentencing, such an order will not affect the Agreement set forth herein. Additionally, if the

Court directs the preparation of a presentence report, the Offices will fully inform the preparer of

the report and the Court of the facts and law related to the defendant’s case.

       11.     Waiver of Appeal, FOIA, Privacy Act Rights, and Venue

        The defendant also understands that 18 U.S.C. § 3742 affords a defendant the right to

appeal the sentence imposed. Nonetheless, the defendant knowingly waives the right to appeal

the conviction and any sentence within the statutory maximum described above (or the manner

in which that sentence was determined) on the grounds set forth in 18 U.S.C. § 3742 or on any

ground whatsoever other than an ineffective assistance of counsel claim that is cognizable on

direct appeal, in exchange for the concessions made by the United States in this Agreement.

This Agreement does not affect the rights or obligations of the United States as set forth in

 18 U.S.C. § 3742(b). The defendant also hereby waives all rights, whether asserted directly or

by a representative, to request or receive from any department or agency of the United States

any records pertaining to the investigation or prosecution of this case, including without
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limitation any records that may be sought under the Freedom of Information Act, 5 U.S.C.

§ 552, or the Privacy Act, 5 U.S.C. § 552a. The defendant also knowingly waives all rights

with respect to venue on Count One in the Information, and agrees to be prosecuted on this

charge in the Eastern District of Virginia.

       12.     Immunity from Further Prosecution

       The Offices will not further criminally prosecute the defendant or the Affiliates

(i) relating to any of the conduct described in either the Information or the Statement of Facts,

(ii) for good-faith disclosures involving Legacy Credit Suisse U.S. Accounts made by the

defendant or the Affiliates to the Offices during cooperation provided prior to this Agreement,

(iii) for good-faith disclosures through the end of 2026 of additional Legacy Credit Suisse U.S.

Accounts identified in reviews as part of the process of integrating Credit Suisse with UBS, as

long as such disclosure was timely upon identification and misconduct was appropriately and

timely remediated upon identification, and (iv) good-faith disclosures of additional Legacy

Credit Suisse U.S. Accounts (and related accounts) pursuant to Paragraph 8.a(l) of this

Agreement, as long as such disclosure was timely upon identification, misconduct was

appropriately and timely remediated, and there are no aggravating factors. The Offices also

agree that this Agreement fully and completely resolves any obligations by Credit Suisse AG or

any successor, including Credit Suisse Services AG or any Affiliates, arising from the 2014

Plea Agreement, and the remedies for any breach of the 2014 Plea Agreement are no longer

available to the Offices.


       This Agreement does not provide any protection against prosecution except as set forth

above, and does not apply to any individuals. The defendant understands and agrees that this

Agreement between the Offices and the defendant does not bind any other division or section of

the Department of Justice or any other federal, state, or local prosecuting, administrative, or

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regulatory authority. Nevertheless, the Offices will bring this Agreement to the attention of

other prosecuting authorities or other agencies, if requested.

        13.    Breach of the Plea Agreement and Remedies

       This Agreement is effective when signed by the defendant, the defendant’s attorney, and

an attorney for the United States, and when UBS Group AG, UBS AG, and UBS Business

Solutions AG sign the Attachment A. The defendant agrees to entry of this Agreement at the

date and time scheduled with the Court by the Offices (in consultation with the defendant’s

attorneys). If the defendant withdraws from this Agreement (or UBS Group, UBS AG, or UBS

Business Solutions AG, from the Attachment A obligations); or commits or attempts to commit

any additional federal crimes; or intentionally gives or has given materially false, incomplete, or

misleading testimony or infonnation; or otherwise violates any provision of this Agreement, and

is found to have breached the Agreement, as provided below, by the Court or the Offices, then:

        (a)    The United States will be released from its obligations under this agreement. The

defendant, however, may not withdraw the guilty plea entered pursuant to this agreement. The

United States can seek resentencing on the count of conviction underlying this plea agreement.

        (b)    The defendant and the Affiliates will be subject to prosecution for any federal

criminal violation relating to the conduct described in the Statement of Facts, including, but not

limited to, perjury and obstruction of justice, that is not time-barred by the applicable statute of

limitations on the date this agreement is signed. Notwithstandin g the subsequent expiration of

the statute of limitations, in any such prosecution, the defendant agrees to waive any statute-of-

limitations defense.


        (c)    Any prosecution, including the prosecution that is the subject of this agreement.

may be premised upon any information provided, or statements made, by the defendant or the

Affiliates, and all such information, statements, and leads derived therefrom may be used

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against the defendant. The defendant waives any right to claim that statements made before or

after the date of this agreement, including the Statement of Facts accompanying this agreement

or adopted by the defendant and any other statements made pursuant to this or any other

agreement with the United States, should be excluded or suppressed under Fed. R. Evid. 410,

Fed. R. Crim. P. 11(f), the Sentencing Guidelines, or any other provision of the Constitution or

federal law.


         (d)   The defendant waives any and all objections to service of process and attachment

of personal jurisdiction, and agrees to appear as ordered by this Court in any criminal, civil, or

administrative action arising from a breach of this Agreement, including any proceeding to

determine whether this Agreement has been breached or whether the defendant has violated any

term of the organizational probation imposed by the Court.

         (e)   Conduct disclosed in good faith by the defendant and its Affiliates to the Offices

during cooperation provided prior to this Agreement, or with respect to Legacy Credit Suisse

U.S. Accounts (regardless of booking center), shall not be considered a breach of this

Agreement. Conduct disclosed in good faith in the future related to accounts booked outside of

the Switzerland booking center shall not be considered a breach of the Agreement, but is not

subject to Paragraph 12 of the Agreement.

         (f)   If the Offices determine that the defendant has breached any obligations that are


also conditions of probation—specifically Paragraph 8—the Offices will notify the defendant.

and the defendant will have the ability to respond as described below. If, after review of the

Defendant’s response, the Offices maintain that the defendant has breached, they will notify the

Probation Office and the Court. If the Court finds that such a breach and corresponding


probation violation occurred, the Offices may pursue prosecution of the Defendant as discussed

above.

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        (g)     Determination of whether the defendant has breached any other obligations of


the Agreement—that are not also conditions of probation—and whether to pursue prosecution

of the defendant shall be in the Offices* sole discretion. In the event the Offices determine that


there has been a breach of this Agreement, the Offices agree to provide written notice of such

breach prior to instituting any prosecution resulting from such breach. Within 30 days of

receipt of such notice, the defendant shall have the opportunity to respond to the Offices in

writing to explain the nature and circumstances of such breach, as well as the actions the

defendant has taken to address and remediate the situation, which explanation the Offices shall

consider in determining whether to pursue prosecution of the defendant.

        Any such prosecution may be premised on information provided by the defendant, the

Affiliates, or their counsel or personnel. Any such prosecution relating to the conduct

described in the Information and the attached Statement of Facts or relating to conduct known


to the Offices (regardless of the source) prior to the date on which this Agreement was signed

that is not time-barred by the applicable statute of limitations on the date of the signing of this

Agreement may be commenced against the defendant, notwithstandin g the expiration of the

statute of limitations.


        14.     Nature of the Agreement and Modifications

        This written agreement constitutes the complete plea agreement between the

United States, the defendant, and the defendant’s counsel. The defendant and the defendant’s

attorneys acknowledge that no threats, promises, or representations have been made, nor

agreements reached, other than those set forth in writing in this Agreement or any associated

documents filed with the Court, to cause the defendant to plead guilty. Any modification of this

Agreement shall be valid only as set forth in writing in a supplemental or revised plea agreement

signed by all parties.

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        15.    Press and Public Statements


       The defendant and the Affiliates shall not, through present or future attorneys, officers.

directors, employees, agents, or any other person authorized to speak for the defendant make

any public statement, in litigation or otherwise, contradicting the acceptance of responsibility

by the defendant set forth above or the facts described in the Statement of Facts. Any such

contradictory statement shall, subject to cure rights of the defendant described below, constitute

a breach of this Agreement. The decision whether any public statement by any such person

contradicting a fact contained in the Statement of Facts will be imputed to the defendant for the

purpose of determining whether it has breached this Agreement shall be at the sole discretion of

the United States. If the United States determines that a public statement by any such person


contradicts in whole or in part a statement contained in the attached Statement of Facts, the

United States shall so notify the defendant, and the defendant may avoid a breach of this

Agreement by publicly repudiating such statement(s) within five business days after

notification. The defendant shall be permitted to raise defenses and to assert affirmative claims

in other proceedings relating to the matters set forth in the Statement of Facts provided that

such defenses and claims do not contradict, in whole or in part, a statement contained in the

attached Statement of Facts. This section does not apply to any statement made by any present


or former officer, director, employee, or agent of the defendant in the course of any criminal,

regulatory, or civil case initiated against such individual, unless such individual is speaking on

behalf of the defendant.


       The defendant agrees that if it or the Affiliates issues a press release or holds any press

conference in connection with this Agreement, the defendant shall first consult with the United

States to determine (a) whether the text of the release or proposed statements at the press

conference are true and accurate with respect to matters between the United States and the
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defendant; and (b) whether the United States has any objection to the release.

        The United States agrees, if requested to do so, to bring to the attention of law

enforcement and regulatory authorities the facts and circumstances relating to the nature of the

conduct underlying this Agreement, including the nature and quality of the defendant’s

cooperation and remediation. By agreeing to provide this information to such authorities, the

United States is not agreeing to advocate on behalf of the defendant, but rather is agreeing to

provide facts to be evaluated independently by such authorities.

        16.    Statement Regarding the Investigation

        Based on concerns that Credit Suisse AG continued to service undeclared accounts after


the entry of the 2014 Plea Agreement, in February 2020, the Offices directed Credit Suisse AG

to provide additional information about its then-extant U.S. account population. Credit Suisse

AG has cooperated with the Offices’ inquiries. To the extent that Credit Suisse AG conducted

additional investigations of its Swiss booking center, it largely did so reactively and at the

prompting of the Offices.

        Moreover, the current investigation has been protracted, in part because of the COVID-

 19 pandemic, but also because Credit Suisse AG’s early 2020 investigation was inadequate and

disclosed new issues that required additional investigation. Certain aspects of the current

investigation were done proactively by Credit Suisse AG, the defendant, and the Affiliates, and

involved reviews of a large number of historical accounts and statistical data, which results

were reported to the Offices.

        17.    Relevant Considerations


        The United States entered into this Agreement based on the individual facts and

circumstances presented by this case and the defendant and its Affiliates, including:

        (a)    the nature and seriousness of the offense conduct, as described in the Statement of

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Facts, including a continuation of criminal conduct described in the Statement of Facts

accompanying the 2014 Credit Suisse AG’s plea agreement insofar as the Credit Suisse AG did

not close all accounts and continued to open and service some accounts that violated Credit

Suisse AG policies with respect to U.S. accounts and which should have been reported to U.S.

authorities;

        (b)    Credit Suisse AG’s breach of its 2014 Plea Agreement, both by the continuation

of aiding and abetting tax crimes by U.S. citizens and by committing other federal crimes since

the 2014 guilty plea;

        (c)    the defendant did not receive voluntary disclosure credit pursuant to the E.D. Va.

Voluntary Self-Disclosure policy, the Corporate Voluntary Self-Disclosure Policy of the Tax

Division, the Criminal Division’s Corporate Enforcement and Voluntary Self-Disclosure

Policy, or pursuant to U.S.S.G. § 8C2.5(g)(1), because it did not voluntarily and timely disclose

to the United States the conduct described in the Statement of Facts;


        (d)    the defendant did not receive credit for its cooperation with the Offices’

investigation of Credit Suisse AG related to the Switzerland booking center pursuant to

U.S.S.G. § 8C2.5(g)(2) because the awarding of such cooperation credit is inconsistent with

Credit Suisse AG’s breach of the 2014 Plea Agreement;

        (e)    the defendant has undertaken remedial efforts, including the development and

implementation of additional compliance and training programs and policies since the entry of

the 2014 Plea Agreement and the sanctioning or termination of individuals involved in the

misconduct;

        (f)    the defendant and the Offices are concurrently entering into a Non-Prosecution

Agreement (the “NPA”) in connection with conduct related to accounts opened at the former

Credit Suisse AG Singapore that UBS voluntarily self-disclosed to the Offices; and

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        (g)   UBS Group AG, as successor in interest to Credit Suisse Group AG, and the

Department of Justice have voluntarily agreed to a one-year extension of the Deferred

Prosecution Agreement, entered in United States v. Credit Suisse Group AG, Cr. No. 21-521

(WFK) in the Eastern District of New York, which occurred on January 19, 2025.

        Accordingly, after considering (a) through (g) above, the parties have determined that

the appropriate resolution in this case is a plea to Count One of the Criminal Information, a

three-year term of organizational probation, the imposition of a $217,261,890 fine, payment of

restitution to the IRS of $46,015,674, and forfeiture of $108,630,945, for a total of $371,908,509,

plus the payment of the mandatory $400 special assessment.

SEEN AND AGREED:


FOR CREDIT SUISSE SERVICES AG:



Date:
        Hocj Sj" 2yQ2^                        By:
                                                            o
                                                     Jaoiyn Ba^o
                                                                'I

                                                     yoS Head of Americas Litigation
                                                     Authorized Signatory for
                                                     Credit Suisse Seiwices AG


Date:                                         By:
                                                     Mark Filip        1 \
                                                     Nicolas ThompsoiW
                                                     Kirkland & Ellis, LLP
                                                     Eric Stupp
                                                     Joel Fischer
                                                     Bar & Karrer AG
                                                     Counsel to Credit Suisse Services AG




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FOR THE DEPARTMENT OF JUSTICE:


KAREN E. KELLY                                 ERIK S. SIEBERT
Chief, delegated Deputy Assistant              United States Attorney
Attorney General for Criminal Matters          Eastern District of Virginia
Tax Division                                   U.S. Department of Justice
U.S. Department of Justice



 Mark F. Daly                                  Kimb^ly M, Shartar
 Nanette L. Davis                              Assistant United States Attorney
 Senior Litigation Counsel
 Marissa R. Brodney
 Trial Attorney




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 COMPANY REPRESENTATIVE’S CERTIFICATE: CREDIT SUISSE SERVICES AG


        I have read this Agreement and carefully reviewed every part of it with counsel for

CREDIT SUISSE SERVICES AG. I understand the terms of this Agreement and voluntarily


agree, on behalf of CREDIT SUISSE SERVICES AG to each of its terms. Before signing this

Agreement on behalf of CREDIT SUISSE SERVICES AG, I consulted with counsel for

CREDIT SUISSE SERVICES AG. Counsel fully advised me of CREDIT SUISSE SERVICES

AG’s rights, possible defenses, the sentencing guidelines provisions, and the consequences of

entering into this Agreement.

        I have carefully reviewed this Agreement with the Board of Directors of CREDIT

SUISSE SERVICES AG.


        I have advised, and caused outside counsel for CREDIT SUISSE SERVICES AG to

advise, the Board fully of CREDIT SUISSE SERVICES AG’s rights, possible defenses, the

sentencing guidelines provisions, and the consequences of entering into this Agreement.

        No promises or inducements have been made other than those contained in this

Agreement. Furthemiore, no one has threatened or forced me to enter into this Agreement. I am

also satisfied with counsel’s representation in this matter.

        I certify that as Head of Americas Litigation for UBS, I have been duly authorized by

CREDIT SUISSE SERVICES AG to execute this Agreement on its behalf



Date:                                                           CREDIT SUISSE SERVICES AG




                                                       By:                            OAtUiO
                                                               ^I^yn B;     lO

                                                               ^UTBS HeaJ of Americas Litigation
                                                                Authorized Signatory for Credit
                                                                 Suisse Services AG

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                                CERTIFICATE OF COUNSEL


        We are counsel for CREDIT SUISSE SERVICES AG in the matter covered by this


Agreement. In connection with such representation, we have examined relevant CREDIT

SUISSE SERVICES AG documents and have discussed this Agreement with the Board of


Directors of CREDIT SUISSE SERVICES AG. Further, we have carefully reviewed every part

of this Agreement with the Board of Directors and General Counsel of CREDIT SUISSE

SERVICES AG. We have fully advised them of CREDIT SUISSE SERVICES’s rights, possible

defenses, the sentencing guidelines provisions, and the consequences of entering into this

Agreement.

        The Board of Directors for CREDIT SUISSE SERVICES AG were duly convened on


April 25, 2025 and by the resolution of such Board of Directors, CREDIT SUISSE SERVICES

AG’s representatives have been duly authorized to enter into this Agreement on behalf of

CREDIT SUISSE SERVICES AG. This Agreement has been duly and validly authorized.

executed, and delivered on behalf of CREDIT SUISSE SERVICES AG and is a valid and

binding obligation of CREDIT SUISSE SERVICES AG. To our knowledge, CREDIT SUISSE

SERVICES AG’s decision to enter into this Agreement is an informed and voluntary one.

                                                                  /
Date:                                        By:
                                                     Mark Filip        I
                                                     Nicolas Thompson
                                                     Kirkland & Ellis, LLP

                                                     Eric Stupp
                                                     Joel Fischer
                                                     Bar & Karrer AG
                                                     Counsel to Credit Suisse Services AG




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